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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA

Case No. 1:23-CR-65

JAMES GORDON MEEK,
Defendant.

 

 

DECLARATION OF FBI SPECIAL AGENT RICHARD J. GUIDA
|, Richard J. Guida, declare as follows:

1. lama Special Agent with the Federal Bureau of Investigation (“FBI”). | have been
employed with the FBI as a Special Agent since January 2008 and am currently assigned to the
Washington Field Office. My duties include the investigation of various violations of federal
criminal laws including matters involving the online sexual exploitation of children, in violation
of 18 US.C. §§ 2251 and 2252, which criminalize, among other things, the production,

advertising, possession, receipt and transportation of child pornography.

2. Asa Special Agent with the FBI, | have basic and on-the-job training in the
investigative area of child exploitation and child pornography. | have received training in the
area of child pornography and child exploitation and have had the opportunity to observe and
review numerous examples of child pornography (as defined in 18 U.S.C. § 2256). | have

participated in federal investigations of crimes against children and am authorized to execute

 

 

 

 

 
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warrants issued under the authority of the United States. | have participated in numerous

search warrants, to include matters that involved child exploitation or child pornography.

3. On 09/07/2021, the Arlington Police Department (‘APD”) forwarded National Center
for Missing and Exploited Children (“NCMEC”) CyberTip 87555105 to the FBI. Specifically, APD
provided the CyberTip to FBI Special Agent Laura Calvillo during an in-person meeting. The

CyberTip stated that a Dropbox subscriber had uploaded child pornography to the subscriber’s

account. Dropbox provided the account holder name and email address as James Meek and

mail.com.

4. On or about 09/08/2021, | reviewed the files associated with the CyberTip and
confirmed they depicted minors engaged in sexually explicit conduct. Open sources revealed
that James Meek was employed by ABC News as a National Security Investigative Producer. On
09/08/2021, in light of my review of the CyberTip, confirmation that it contained minors
engaged in sexually explicit conduct, and Meek’s employment as a member of the new media, |
submitted an opening for a Sensitive Investigative Matter investigation. This opening was
coordinated with the US Attorney’s Office for the Eastern District of Virginia. On or about
09/08/2021, | requested SOS Alexa Rae George serve preservation letters to Dropbox, Google,

and Skype. On or about 09/09/2021, SOS George served these preservation letters.
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5. The FBI had no coordination with Dropbox regarding this matter until on or
about 09/09/2021 when the FBI served Dropbox with a preservation letter.
Pursuant to 28 U.S.C. § 1746, | declare under penalty of perjury that the foregoing is

true and correct.

Te
Executed this /& day of May 2023. eiks

RICHARD J. GU Wha /
Special ay?
Federal Bureau of Investigation
